        Case 1:24-cv-00543-NCM-RML Document 4 Filed 01/25/24 Page 1 of 2 PageID #: 21

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District
                                                  __________         of of
                                                              District  New  York
                                                                           __________

                  CARLOS RUIZ FLOREZ                               )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                        Civil Action No. 24-cv-543 NCM-RML
                                                                   )
 L & C BRAND REALTY INC. and SOKO-LYA CAFE                         )
                   INC.                                            )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SOKO-LYA CAFE INC.
                                           410 BRIGHTON BEACH AVENUE,
                                           BROOKLYN, NY, UNITED STATES, 11235




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Jennifer E. Tucek,
                                           Law Office of Jennifer Tucek PC
                                           315 Madison Ave., #3054 NY, NY 10017 (917) 669-6991
                                           TucekLaw@Gmail.Com


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
                                                                     Brenna Mahoney

                                                                            CLERK OF COURT

                                                                             s/Kimberly Davis
Date:      1/25/2024
                                                                                        Signature of Clerk or Deputy Clerk
        Case 1:24-cv-00543-NCM-RML Document 4 Filed 01/25/24 Page 2 of 2 PageID #: 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District
                                                  __________         of of
                                                              District  New  York
                                                                           __________

                  CARLOS RUIZ FLOREZ                               )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )                             24-cv-543 NCM-RML
                                v.                                        Civil Action No.
                                                                   )
 L & C BRAND REALTY INC. and SOKO-LYA CAFE                         )
                   INC.                                            )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) L & C BRAND REALTY INC.
                                           2560 EAST 12TH STREET,
                                           BROOKLYN, NY, UNITED STATES, 11235




          A lawsuit has been filed against you.

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                                                                           Brenna Mahoney
                                                                            CLERK OF COURT


Date:        1/25/2024                                                       s/Kimberly Davis
                                                                                        Signature of Clerk or Deputy Clerk
